Dear Senator Hinton:
We are in receipt of your opinion request dated May 13, 1992 directed to Attorney General Richard P. Ieyoub. The opinion request has been assigned to me for research and reply.
The issue raised in your request calls for a determination of whether there is any legal prohibition preventing a person from simultaneously holding the position of commission member of the New Orleans Regional Planning Commission, and the position of member of the St. Tammany Parish sewage and water board. The position of local planning commission member is a part-time local appointive office, and the position of member of a parish sewage and water board is also a part-time local appointive office.
We are aware of language in LSA-R.S. 33:132 which states that a planning commission member ". . . shall hold no other public office". Application of this statute would presumably make this dual-office arrangement unlawful. However, with the enactment of Act 700 of 1979 (LSA-R.S. 43:61, et. seq.), all older laws relating to dual-office holding and dual-employment were generally repealed. Because there has been no subsequent amendment to LSA-R.S. 33:132(A) which would reactivate its terms, we are of the opinion that this provision has also been repealed. See Attorney General Opinion Number 86-455, a copy of which is *Page 2 
attached.
A determination of whether a simultaneous holding of the two positions discussed here might be considered unlawful must now be measured under the provisions of Act 700 of 1979, regulating dual-office holding and dual-employment. The pertinent provision is contained in LSA-R.S. 42:63(E), which states:
"No person holding a full-time appointive office or full-time employment in the government of this state or of a political subdivision thereof shall at the same time hold another full-time appointive office or full-time employment in the government of the state of Louisiana, in the government of a political subdivision thereof, or in a combination of these."
The situation as presented in your request does not violate the dual-office holding law. A person holding two part-time local appointive offices simultaneously is permitted by the statute. LSA-R.S. 42:63(E).
We hope this interpretation of the law is helpful to you. Should you have further questions, please contact our office.
Yours Very truly,
Richard P. Ieyoub Attorney General
By: Kerry L. Kilpatrick Assistant Attorney General